814 F.2d 655Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Carlos HAINES, Plaintiff-Appellant,v.Officer HASTY;  Officer Rhodes;  ODOM ComplexAdministrators;  Disciplinary Committee;  Lt.Crumpler;  Captain Williams;Physician's Assistant;Several UnnamedOfficers,Defendants-Appellees.
    No. 86-6818.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 29, 1987.Decided March 16, 1987.
    
      E.D.N.C.
      AFFIRMED.
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (C/A No. 85-763-CRT)
      Before RUSSELL, HALL and WILKINSON, Circuit Judges.
      Carlos Haines, appellant pro se.
      Jacob Leonard Safron, Special Deputy Attorney General, for appellees.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Haines v. Hasty, C/A No. 85-763-CRT (E.D.N.C., Dec. 1, 1986).
    
    